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         < Details          Inventory Record                PDF


          Is there and Adjacent Crossing with a
          Separate Number
          No



          Quiet Zone
          No




          Date Established (Quiet Zone)
          N/A


          HSR Corridor ID
          N/A


          Latitude
          29.9147140



          Longitude
          -90.0661850



          Lat/Long Source
          Estimated



          Railroad Use A
          N/A


          Railroad Use B
          N/A


          Railroad Use C
          N/A


          Railroad Use D
          N/A


          State Use A
          N/A


          State Use B
          N/A


          state Use C
          N/A
